
  



    
    
    
    
    
    
    

    
    
    









    KP-0450 | Office of the Attorney General
    



    
    
    
        
      
  
  



        
      
    
  
  Javascript must be enabled for the correct page display
  Skip to main content
  
  
  


  
    
      
        
      
      
        
                
                          
    
      

      Español
    
    
      
                     
          
        About
              
                 
          
        News
              
                 
          
        Opinions
              
                 
          
        Careers
              
                 
          
        Contact Us
              
          
  


  
  


                
        
      
      
        
          
            
          
          
        
      
    
  
  
    
      
          
            
              
                
                  
                    
                      Keywords
                      
                    
                    
                  
                
              
              
                
              
            
          
      
    
  




  
    
              
    
      
                          
                                              
            
              
        
                                              Child Support
                                                              
        
                                                                                    Child Support Interactive (CSI)
                                                  
        
                                        
            
              Back to top of menu
              
                            Child Support Interactive (CSI)
             
              Paying and Receiving Child Support
                                                  
        
                              About Child Support Interactive
                                                  
        
                              Agency Partners
                                                  
        
                              Child Support Enforcement
                                                  
        
                              Pro­grams and Initiatives
                                                  
        
                              Your Child Support And The Federal Stimulus Payment
                                          

   
  

                                                    
              
            
        
                                              
            
              
        
                                              Crime Victims
                                                              
        
                                                                                    2019 Legislative Session Update for Victims and Service Providers
                                                  
        
                                        
            
              Back to top of menu
              
                            2019 Legislative Session Update for Victims and Service Providers
             
              Compensation Portal Updates
                                                  
        
                              Crime Victims' Compensation Portal
                                                  
        
                              Landowner Compensation Program
                                                  
        
                              Services for Crime Victims
                                                  
        
                              Crime Victims' Compensation Program
                                                  
        
                              Information for Crime Victim Advocates
                                                  
        
                              Service Providers
                                          

   
  

                                                    
              
            
        
                                              
            
              
        
                                              Consumer Protection
                                                              
        
                                                                                    File a Consumer Complaint
                                                  
        
                                        
            
              Back to top of menu
              
                            File a Consumer Complaint
             
              Automotive Scams
                                                  
        
                              Common Scams
                                                  
        
                              Equifax
                                                  
        
                              Identity Theft
                                                  
        
                              Seniors and the Elderly
                                          

   
  

                                                    
              
            
        
                                              
            
              
        
                                              Open Government
                                                              
        
                                                                                    2023 Texas Legislative Session Update
                                                  
        
                                        
            
              Back to top of menu
              
                            2023 Texas Legislative Session Update
             
              Governmental Bodies
                                                  
        
                              How to Request an Attorney General Opinion
                                                  
        
                              Members of the Public
                                                  
        
                              Open Meetings Act Suspension Updates
                                                  
        
                              Open Records Complaint
                                                  
        
                              Open Reports and Publications
                                          

   
  

                                                                                                  

               
            
            
    
  



  
  



      
        
          
            
              
                Job Listings
              
              
                All Divisions
              
              
                                Opinions
              
              
                Initiatives
              
              
                Newsroom
              
            
            
              
                About
              
              
                Contact us 
              
              
                        
    
      

      Español
  
  


              
            
          
        
      
    
  
  
    
      
        
          
            
              
                Search Keywords
                
              
              
            
          
        
      
    
  

        
  
    
      
  
    
        
    Breadcrumb
    
      
        
          
            
                          
                                  Home
                              
                          
                                  Opinions
                              
                          
                                  Ken Paxton Opinions
                              
                          
                                  KP-0450
                              
                        
          
        
      
    
  

  

  
    
      KP-0450
              Ken Paxton
                  
        Categories
                        
Special Districts and Authorities
        
      
            
                  Summary
                      Addressing whether a county development district may add a sixth director to its board under Local Government Code subsection 383.048(d).
      
                          
            Opinion File
                         kp-0450.pdf 

      
          
                
        
      
    

          
        Related Requests
        
  
  
  

  
  
  

        

  
    RQ-0002-AC

      
  
                July 31, 2023

      
  
      
      
        Request PDF
                     RQ0002AC.pdf 

      
      
    
  



  
  

  
  

  


      
      


  
  


    
  Back to top



  
    
      Back to Top
    
  


  
    
      
        
        Asset 1
        
      
      
        
          
            
              Twitter
              Facebook
            
          
          
            PO Box 12548Austin, TX 78711-2548
          
        

      
      

        
          
                    
    
      
              
                              
        Child Support
              
                                          
        Crime Victims
              
                                          
        Consumer Protection
              
                                          
        Open Government
              
                                                                                                                                                                                                                                      
  


  
  


          
        
          
            
              All Divisions
              Opinions
              Initiatives
              Human Resources
              Newsroom
            
          
        

      
      

        
          
                        
          

              
        Where the Money Goes
              
              
        ADA Compliance
              
              
        Compact With Texans
              
              
        Cost Efficiency Saving Ideas
              
              
        Reporting Fraud
              
              
        State Agency Contracts
              
              
        TRAILS Search
              
              
        Texas Homeland Security
              
              
        Texas Veterans Portal
              
              
        Texas.gov
              
              
        Accessibility &amp; Site Policies
              
        
  


  
  


          
        
      

    
  


  

    
    


    
    
  

